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                                                                          8                              UNITED STATES DISTRICT COURT
                                                                          9                                        Northern District of California
                                                                         10                                             San Francisco Division
                                                                         11    STEVE WILSON BRIGGS,                                     No. C 13-04679 PJH (LB)
                                                                         12                           Plaintiff,                        NOTICE OF REFERRAL AND
UNITED STATES DISTRICT COURT




                                                                                       v.                                               ORDER REGARDING DISCOVERY
                               For the Northern District of California




                                                                         13                                                             PROCEDURES
                                                                               SONY PICTURES ENTM’T, INC., et al.,
                                                                         14
                                                                                                 Defendants.
                                                                         15    _____________________________________/
                                                                         16   TO ALL PARTIES AND COUNSEL OF RECORD:
                                                                         17      The district court has referred Plaintiff’s amended motion to compel, electronically filed on July
                                                                         18   10, 2014, which is a discovery matter, to the undersigned. See Amended Motion to Compel, ECF
                                                                         19   No. 53; Referral Order, ECF No. 55. The motion was noticed for hearing before the district court on
                                                                         20   August 20, 2014.
                                                                         21      The Court VACATES the current August 20, 2014 hearing date and DIRECTS the parties to
                                                                         22   comply with the following procedure for this discovery dispute only. Given Plaintiff’s pro se status
                                                                         23   and his already-filed 8-page, double-spaced motion, the court directs Plaintiff and Defendants’
                                                                         24   counsel to meet and confer about the dispute by telephone no later than 5:00 p.m. PDT on Friday,
                                                                         25   July 18, 2014. If Plaintiff and Defendants’ counsel are able to resolve the dispute, they shall file a
                                                                         26   notice informing the court of this fact. If they are not, Defendants shall file an 8-page, double-
                                                                         27   spaced opposition to Plaintiff’s amended motion by 5:00 p.m. PDT on Friday, July 25, 2014.
                                                                         28   Plaintiff then may file a four-page, double-spaced reply by 5:00 p.m. PDT on Wednesday, July 30,

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                                                                          1   2014. After reviewing the papers, the court will evaluate whether further proceedings are necessary,

                                                                          2   including any further briefing or argument.

                                                                          3      For any future discovery disputes, the court orders the parties to comply with the procedures for

                                                                          4   addressing discovery disputes set forth in the undersigned’s standing order (attached). If the

                                                                          5   undersigned’s meet-and-confer requirement does not resolve the disagreement, the parties must file

                                                                          6   a joint letter brief instead of a formal motion. The letter brief must be filed under the Civil Events

                                                                          7   category of “Motions and Related Filings > Motions – General > Discovery Letter Brief.” After

                                                                          8   reviewing the joint letter brief, the court will evaluate whether further proceedings are necessary,

                                                                          9   including any further briefing or argument.

                                                                         10      IT IS SO ORDERED.

                                                                         11   Dated: July 15, 2014                                   _______________________________
                                                                                                                                     LAUREL BEELER
                                                                         12                                                          United States Magistrate Judge
UNITED STATES DISTRICT COURT
                               For the Northern District of California




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                                                                              NOTICE OF REFERRAL
                                                                              C 13-04679 PJH (LB)                                2
